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                                                                                             Appendix 1
                                                                                                                                          ADHD‐Bias



                                                             2. Blinding: Was knowledge
                                                              of the group assignments
                                                                                            3. Exposure:      4. Outcomes:   5. Confounding: Was                                            8. Did the study receive any           9. Did the study
                                1. Selection: Was the          inadequately prevented                                                            6. Were incomplete 7. Does the study
                                                                                           Were exposure     Were outcome           potential                                            support from a company, study           appear to have other
                               strategy for recruiting         (i.e., blinded or masked)                                                            outcome data     report appear to
   PMID               Author                                                                assessment         assessment         confounding                                            author, or other entity having a        problems that could     AVERAGE                     Notes
                               participants consistent       during the study, potentially                                                          inadequately       have selective
                                                                                           methods lacking   methods lacking      inadequately                                            financial interest in any of the         put it at a risk of
                                across study groups?              leading to subjective                                                              addressed?     outcome reporting?
                                                                                             accuracy?          accuracy?        incorporated?                                                   exposures studied?                      bias?
                                                                measurement of either
                                                                exposure or outcome?


                                                                                                                                                                                                                                                                       Outcomes assessed at age 3 when
                                                                                                                                                                                                                                                                       ADHD symptomes may not be
                                                                                                                                                                                                                                                                       apparent yet in most future cases.
                                                                                                                                                                                                                                                                       Fever not included as a confounder
  36170224 Sznajder,2022                                 1                             1                 2                 2                   2                  1                  1                                       1                       1             1.3 due to exposure collinearity


                                                                                                                                                                                                                                                                      Major strenghts in addressing bias
                                                                                                                                                                                                                                                                      due to special objective masures of
                                                                                                                                                                                                                                                                      exposure (meconium) and
                                                                                                                                                                                                                                                                      outcome (brain MRI).

                                                                                                                                                                                                                                                                       Limitation:
                                                                                                                                                                                                                                                                       The relatively small sample size is
                                                                                                                                                                                                                                                                       fully compensated by the added
                                                                                                                                                                                                                                                                       precision of meconium and brain
  32986124 Baker, 2022                                   1                             1                 1                 1                   1                  1                  1                                       1                       1             1.0 MRI measurements
                                                                                                                                                                                                                                                                       This study included five cohort.
                                                                                                                                                                                                                                                                       Some differences between cohorts
34046850   Alemany, 2021                                 1                             1                 2                 1                   1                  1                  1                                       1                       1             1.1 were noted.
                                                                                                                                                                                                                                                                       Major strenghts in addressing bias
                                                                                                                                                                                                                                                                       due to objective masures of
31664451   Ji, 2020                                      1                             1                 1                 1                   1                  1                  1                                       1                       1             1.0 exposure in cord blood

                                                                                                                                                                                                                                                                       The description of the logistic
                                                                                                                                                                                                                                                                       regression models does not specify
                                                                                                                                                                                                                                                                       whether only some or all of the
                                                                                                                                                                                                                                                                       matching variables were included
                                                                                                                                                                                                                                                                       as covariates, hence raising
                                                                                                                                                                                                                                                                       concerns about overmatching of
                                                                                                                                                                                                                                                                       controls. No assessment of
31509360   Chen, 2019                                    3                             1                 2                 1                   2                  1                  1                                       1                       1             1.4 confounding by indication.

                                                                                                                                                                                                                                                                       Exposure was not recorded as
                                                                                                                                                                                                                                                                       occuring in pregnancy, but as
                                                                                                                                                                                                                                                                       regular use in the same year of the
                                                                                                                                                                                                                                                                       pregnancy. However, restricting
                                                                                                                                                                                                                                                                       the analysies to women who were
                                                                                                                                                                                                                                                                       pregnant at the time they provided
                                                                                                                                                                                                                                                                       medication use info did not change
                                                                                                                                                                                                                                                                       the results (slightly stronger
30923825   Liew, 2019                                    1                             1                 2                 2                   1                 2                   1                                       1                       1             1.3 association).




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                                                                                                Appendix 1
                                                                                                                                             ADHD‐Bias



                                                                2. Blinding: Was knowledge
                                                                 of the group assignments
                                                                                               3. Exposure:      4. Outcomes:   5. Confounding: Was                                            8. Did the study receive any           9. Did the study
                                   1. Selection: Was the          inadequately prevented                                                            6. Were incomplete 7. Does the study
                                                                                              Were exposure     Were outcome           potential                                            support from a company, study           appear to have other
                                  strategy for recruiting         (i.e., blinded or masked)                                                            outcome data     report appear to
   PMID             Author                                                                     assessment         assessment         confounding                                            author, or other entity having a        problems that could     AVERAGE                      Notes
                                  participants consistent       during the study, potentially                                                          inadequately       have selective
                                                                                              methods lacking   methods lacking      inadequately                                            financial interest in any of the         put it at a risk of
                                   across study groups?              leading to subjective                                                              addressed?     outcome reporting?
                                                                                                accuracy?          accuracy?        incorporated?                                                   exposures studied?                      bias?
                                                                   measurement of either
                                                                   exposure or outcome?



                                                                                                                                                                                                                                                                          The authors cautioned that the
                                                                                                                                                                                                                                                                          proportion of reported
                                                                                                                                                                                                                                                                          acetaminophen use during
                                                                                                                                                                                                                                                                          pregnancy was much lower than
                                                                                                                                                                                                                                                                          expected (27% vs. 51% expected
                                                                                                                                                                                                                                                                          based on other independent data
                                                                                                                                                                                                                                                                          in the region). SDQ was used to
                                                                                                                                                                                                                                                                          assess the outcome, a test with
                                                                                                                                                                                                                                                                          high negative but low positive
                                                                                                                                                                                                                                                                          predictive value, hence potentially
                                                                                                                                                                                                                                                                          missing many ADHD cases. Both
                                                                                                                                                                                                                                                                          limitations are likely to have
                                                                                                                                                                                                                                                                          diluted the effects, resulting in a
30458756   Tovo‐Rodrigues, 2018                             1                             1                 4                 2                   2                 2                   1                                       1                       1             1.7 weaker association
28031314   Liew, 2016                                       1                             1                 2                 1                   1                 1                   1                                       1                       1             1.1
                                                                                                                                                                                                                                                                          ADHD evaluated at 4.8 years in
                                                                                                                                                                                                                                                                          average when most cases are
27353198   Avella‐Garcia, 2016                              1                             1                 2                 2                   1                  1                  1                                       1                       1             1.2 harder to detect




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                                                                                                                                                      ADHD‐Bias



                                                                         2. Blinding: Was knowledge
                                                                          of the group assignments
                                                                                                        3. Exposure:      4. Outcomes:   5. Confounding: Was                                            8. Did the study receive any           9. Did the study
                                            1. Selection: Was the          inadequately prevented                                                            6. Were incomplete 7. Does the study
                                                                                                       Were exposure     Were outcome           potential                                            support from a company, study           appear to have other
                                           strategy for recruiting         (i.e., blinded or masked)                                                            outcome data     report appear to
   PMID                Author                                                                           assessment         assessment         confounding                                            author, or other entity having a        problems that could     AVERAGE                      Notes
                                           participants consistent       during the study, potentially                                                          inadequately       have selective
                                                                                                       methods lacking   methods lacking      inadequately                                            financial interest in any of the         put it at a risk of
                                            across study groups?              leading to subjective                                                              addressed?     outcome reporting?
                                                                                                         accuracy?          accuracy?        incorporated?                                                   exposures studied?                      bias?
                                                                            measurement of either
                                                                            exposure or outcome?


                                                                                                                                                                                                                                                                                   ADHD was evaluated using the
                                                                                                                                                                                                                                                                                   Strengths and Difficulties
                                                                                                                                                                                                                                                                                   Questionnaire (SDQ), SDQ has high
                                                                                                                                                                                                                                                                                   negative but low positive
                                                                                                                                                                                                                                                                                   predictive value, hence potentially
                                                                                                                                                                                                                                                                                   missing many ADHD cases. This
                                                                                                                                                                                                                                                                                   limitation is likely to have diluted
                                                                                                                                                                                                                                                                                   the effects, resulting in a weaker
27533796     Stergiakouli , 2016                                     1                              1                2                 2                   1                  1                  1                                       1                       1             1.2 association
                                                                                                                                                                                                                                                                                   ADHD was evaluated using the
                                                                                                                                                                                                                                                                                   Strengths and Difficulties
                                                                                                                                                                                                                                                                                   Questionnaire (SDQ), a proxy for
25251831     Thompson, 2014                                          1                              1                2                 2                   1                 2                   1                                       1                       1             1.3 ADHD diagnosis
24566677     Liew, 2014                                              1                              1                2                 1                   1                 1                   1                                       1                       1             1.1 Telephone based interviews.

3603404      Streissguth, 1987                                       1                              1                2                 3                   2                  1                  1                                       1                       1             1.4 Test for attention is not standard

                                                                                                                                                                                                                                                                                   The second author (Ystrom) is Joint
Not in       Gustavson, 2021 (Overal                                                                                                                                                                                                                                               Editor for the joiurnal where it was
Pubmed       Study)                                                  1                              1                2                 2                   1                 2                   1                                       2                       1             1.4 published (a clear COI).

                                                                                                                                                                                                                                                                                   The second author (Ystrom) is Joint
Not in       Gustavson, 2021 (Sibling                                                                                                                                                                                                                                              Editor for the joiurnal where it was
Pubmed       controlled study)                                       1                              1                2                 2                   4                 2                   1                                       2                       1             1.8 published (a clear COI).

Source: The Navigation Guide to Assess Risk of Bias in Toxicology and Environmental Health Studie
https://guides.himmelfarb.gwu.edu/systematic_review/reporting‐quality‐risk‐of‐bias


           1 Low Risk of Bias
           2 Probably Low Risk of Bias
           3 Probably High Risk of Bias
           4 High Risk of Bias
          NA Not applicable




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                                                                                                                                               ADHD‐Study grading




                                                   b. Large Effect                               d. Internal                                            Average of                                                              Expert opinion score on
PMID         Author, Year           A. Size        (>2)                   c. Dose Response       consistency     e. Control of bias f. Other            criteria            Sum of criteria        Strenght of Evidence        study quality                Notes
36170224     Sznajder, 2022                    1                     0                       0                 0                  1 NA                               0.4                      2                           0                               0
32986124     Baker, 2022                      ‐1                     2                       2                 2                  2                 2                1.5                      9                           2                               2 f. Brain MRI and measurement in meconium
34046850     Alemany, 2021                     2                     1                       0                 1                  1 NA                                 1                      5                           1                               1

31664451     Ji, 2020                         0                      2                       2                 1                 2                  2                1.5                      9                            2                              2 e. stratification by fever; f. measurements in cord blood
31509360     Chen, 2019                       2                      0                       0                 2                ‐1 NA                                0.6                      3                            1                              1
                                                                                                                                                                                                                                                            Higher opinion score because of stronger evidence from
30923825     Liew, 2019                        1                     0                       0                 2                 0 NA                                0.6                      3                            1                              2 negative control exposure analysis
                                                                                                                                                                                                                                                            Opinion score driven by probable acetaminophen use
                                                                                                                                                                                                                                                            undereporting. Strength of evidence driven by
                                                                                                                                                                                                                                                            retrospective assessment of prenatal acetaminophen and
30458756     Tovo‐Rodirgues, 2018              1                     0                       0                 1                ‐2 NA                                  0                      0                           0                               0 probable undereporting
28031314     Liew, 2016                        1                     2                       2                 2                 1 NA                                1.6                      8                           2                               2

                                                                                                                                                                                                                                                             a. Younger age of children compared to other studies;
                                                                                                                                                                                                                                                             Opinion score driven by young age of children (4.8 years),
27353198     Avella‐Garcia, 2016               1                     1                       2                 2                 1 NA                                1.4                      7                            1                               0 when ADHD may not have yet manifested itself
                                                                                                                                                                                                                                                             Opinion based score lower than the maximum due to the
                                                                                                                                                                                                                                                             use of the SDQ score as a proxy for ADHD diagnosis. N.B.:
27533796     Stergiakouli , 2016              2                      0                       0                 2                 1 NA                                   1                     5                            1                               1 Bias likely toward the null
                                                                                                                                                                                                                                                             Opinion score driven by small sample size with use of
25251831     Thompson, 2014                   0                      ‐1                      0                  1                1 NA                                0.2                      1                           0                                0 continuous scores
                                                                                                                                                                                                                                                             e. telephone based interview assessing 40 types of drugs;
                                                                                                                                                                                                                                                             potential for non differential misreporting; possible bias
24566677     Liew, 2014                       2                      0                       2                 2                 0 NA                                1.2                      6                            1                               1 toward the null
                                                                                                                                                                                                                                                             Opinion score driven by small sample size and use of non
3603404      Streissguth, 1987                ‐1                     ‐1                      0                 ‐1                0 NA                                ‐0.6                     ‐3                          ‐1                              ‐1 standard attention score.
                                                                                                                                                                                                                                                              F. Ystrom is a joint editor in the journal that published
Not in       Gustavson, 2021                                                                                                                                                                                                                                 the paper, presenting some concern about independent
Pubmed       (Overal Study)                   2                      2                       0                  1                2                 ‐1                1.0                      6                            1                               1 editorial decisions



                                                                                                                                                                                                                                                            e. Risk of confounding reflects that the sibling controls,
                                                                                                                                                                                                                                                            while intended by the authors to control for unmeasured
                                                                                                                                                                                                                                                            confounders, also eliminates the effect mediated by
                                                                                                                                                                                                                                                            intermediate variables hence likely biasing the results
                                                                                                                                                                                                                                                            toward the null. F. Ystrom is a joint editor in the journal
                                                                                                                                                                                                                                                            that published the paper, presenting some concern about
                                                                                                                                                                                                                                                            independent editorial decisions.

                                                                                                                                                                                                                                                             Expert opinion score downgraded to ‐1 due to concerns
             Gustavson, 2021                                                                                                                                                                                                                                 about the very small effective sample size and the bias
Not in       (Sibling controlled                                                                                                                                                                                                                             toward the null likely introduced by the elimination of the
Pubmed       study)                           ‐1                     0                       0                 2                ‐2                 ‐1                ‐0.3                     ‐2                          0                               ‐1 effects of intermediate factors.

Table ‐ Grading of Strength of Each Study
Score        Study of Evidence
+2           Very Strong
+1           Strong
0            Moderate
‐1           Weak
‐2           Very weak/none




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                                                                                                                                                        ADHD‐Study Info



PMID                Authors, Year    Location         Study Period    Risk Estimate                    Study Design   Sample Size   Missing data          Inclusion Criteria   Exposure Definition       Outcome definition      Confounders                                                        Notes



                                                                                                                                                                                                                                 Variable selection: Variables associated with exposure and
                                                                                                                                                                                                                                 outcome.

                                                                                                                                                    Nulliparous                                                            Indication: Infection, other indication variables did not meet the
                                                                                                                                                    pregnant women in                                                      selection criteria
                                                                                                                                                    the third trimester,
                                                                                                                                                    18 to 35 years,                                                        Other variables: trouble sleeping, thyroid conditions, maternal
                                                                                                                                                    English or Spanish                                                     age, insurance coverage, alcohol, anxiety/depression, stress.
                                                                                                                                                    speaking, planning
                                                                                                                                                    to deliver at a        Self reports of                                 Variable evaluated but not adjusted for (see variable selection
                                                                                                                                                    hospital in            medication use during                           critierion above): Muscle pain, headache/migrane, cold/allergies,
                                                                                                                                                    Pennsylvania, no       pregnancy in third                              race, other non‐prescription drugs, BMI, labor induction, mode of
                                                                                                                                    Individual mean plans for the child to trimester phone        Attention problems       delivery, dystocia, antpartum bleeding
                                                                                                                                    imputation of   be adopted, and        inteview. Dose and     from the Child Behavior
                                                                                                                                    missing         delivering at 34       frequency were queried Checklist (CBCL) at age Not adjusted for due to collinearity: fever
                                     Pennsylvania,    Births: 2009‐   OR=1.21                          Prospective                  outcomes        weeks gestation or but not used in the        3 years (>80th
36170224            Sznajder, 2022   USA              2011            (1.01‐1.45)                      cohort         N=2400        measures (<2%) later.                  analysis.              percentile of the scale)



                                                                                                                                                                                                                                 Variable selection: a priori

                                                                                                                                                                                                                                 Indication: Used Inverse Probability Weights for variables that
                                                                                                                                                                                                                                 make more likely to use acetaminophen; this can help address
                                                                                                                                    Missing                                                                                      confounding by indication; sensitivity analysis showed no
                                                                                                                                    covariate data                                                                               differences when excluding possible indications.                   Objective measurements of fetal
                                                                                                                                    were imputed                                                                                                                                                    exposure to acetaminophen in
                                                                      OR=2.43                                                       with the median                                                                             Other variables: child sex, familial income, and maternal           meconium.
                                                                      (95%CI: 1.41‐4.21)                                            of continuous                                                        Parent‐reported        characteristics, including age at delivery, education, prepregnancy
                                                                                                                                    variables and                                                        physician diagnosis of body mass index, smoking during pregnancy , and alcohol use         Functional brain MRI performed to
                                                                      Dose response: 10% higher odds                                the mode of     Women 18 years or Measurement of                     ADHD or diagnosis from during pregnancy. Added maternal ADHD in sensitivity analysis       identify objective brain function
                                     Sherbrooke,      Births: 2008‐   for each doubling in             Prospective                  categorical     older with no known acetaminophen in                 medican records at 6‐7                                                                     alteractions associated with prenatal
           32986124 Baker, 2022      Canada           2010            acetaminophen in meconium        cohort         N=345         variables.      thyroid disease     meconium samples                 years of age.                                                                              acetaminophen.



                                                                                                                                                                                                                                                                                                    The exposure was assessed using
                                                                                                                                                                                                                                                                                                    maternal questionnaires or interviews.

                                                                                                                                                                                                                                 Variable selection: a priori                                         N.B.: This paper presents a combined
                                                                                                                                                                                                                                                                                                      analysis of 6 cohort studies in Europe.
                                                                                                                                                                                                                                 Indication: Fever and infection during pregnancies.                  Two of them had reported results in
                                                                                                                                                          Mother‐Children                                                                                                                             other previous publications (Avella
                                                                                                                                                          with available data                                                    Other variables: Maternal and child covariates: age at delivery      Garcia, 2016; Stergiakouli 2016).
                                                                                                                                                          on either prenatal or                          Subscale of the         (years), education (low, medium, high), pre‐pregnancy body‐mass However, these two cohorts amounted
                                     United Kingdom,                                                                                                      postnatal exposure Mothers were                CBCL11⁄2‐5 and          index (BMI), alcohol (yes/no), smoking (yes/no) and men‐ tal         to just approximately 10% of the entire
                                     the Netherlands,                                                                                                     to acetaminophen      interviewed 2‐4 times    CBCL6/18 and the        health problems (yes/no) during pregnancy, age at birth (years)      sample size of this new combined study,
                                     Denmark, Italy,                                                                                                      and at least one      during pregnancy using   ADHD Criteria of DSM‐   and parity (nulliparous, > 1 and > 2), during pregnancy; sex, age at which was therefore considered as
                                     Spain, and       Pregnancies:                                     Prospective                  Used cohort‐          outcome (ADHD or standardized                  IV (DSM‐ADHD            behavioral assessment (years), cold (yes/no) and respiratory         including predominantly new original
34046850            Alemany, 2021    Greece           1991‐2008       OR = 1.21, 95% CI 1.07–1.36      Cohorts        N=73,881      specific criteria     ASD)                  questionnaires.          Questionnaire)          infections (yes/no) in the first 2 years of life.                    data.




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PMID       Authors, Year        Location        Study Period    Risk Estimate                      Study Design     Sample Size     Missing data        Inclusion Criteria    Exposure Definition      Outcome definition       Confounders                                                        Notes




                                                                                                                                    Missing data for                                                                            Variable selection: a priori, variables associated with exposure
                                                                                                                                    sociodemograph Mothers who                                                                  and outcome.
                                                                                                                                    ic characteristics delivered singleton
                                                                                                                                    (<4%) imputed live births at Boston                                                         Indication: stratified analyses by fever showed no differences
                                                                                                                                    using multiple     Medical Center                                                           between strata
                                                                                                                                    imputation by      (BMC), excluding
                                                                                                                                    chained            conception via in                                                        Other variables: maternal and child variables: maternal age at
                                                                Reference: Lowest tertile                                           equations          vitro fertilization,                                                     delivery, maternal race/ethnicity, maternal educational level,
                                                                2nd tertile: OR 2.26 (95% CI, 1.40‐                                 (MICE) with the deliveries induced      Measurement of       Diagnosis from                 marital status, stress during pregnancy, smoking before or during
                                                                3.69)                                                               Predictive Mean by maternal trauma, acetaminophen in cord Electronic medical                pregnancy, alcohol use before or during pregnancy, maternal           Objective measurements of fetal
                                                                3rd tertile: OR 2.86 (95% CI, 1.77‐ Prospective                     Matching           or newborns with     blood samples (Fetal records through 9.8            BMI, parity, child's sex, delivery type, preterm birth, and low birth exposure to acetaminophen in cord
31664451   Ji, 2020             Boston, MA      Births: 1998‐   4.67)                               cohort          N=996           method             major birth defects. blood)               years of age in average        weight.                                                               blood (fetal blood).



                                                                                                                                                    Cases: diagnoses of
                                                                                                                                                    ADHD by board‐
                                                                                                                                                    certified
                                                                                                                                                    psychiatrists.
                                                                Exposure in any trimester: OR =                                                     Controls: randomly
                                                                1.20; 95% CI, 1.01‐1.42                             950 study pairs                 (1:4) identified and
                                                                                                                    (mothers‐                       matchd by mothers’        Prescriptions from the
                                                                Exposure in second trimester: OR                    children‐with‐                  ages, children’s sex      National Taiwan                                   Variable selection: a priori
                                                                = 1.19; 95% CI, 1.00‐1.40                           ADHD) and                       and ages, mothers’        database;over the
                                                                Exposure in first and second                        3,800 control   No missing data age during                counter use and          ADHD from ICD‐9 codes Indication: None
                                                                trimesters: OR = 1.28; 95% CI, 1.00                 pairs (mothers‐ (national       pregnancy, income,        adherence to             recorded in the Taiwan
                                Taiwan,         Births: 1998‐   1.64                                Nested Case‐    children‐       mandatory       and urbanization          prescription was not     Health Insurance       Other variables: age, sex, income, level of urbanization,
31509360   Chen, 2019           nationwide      2008                                                control study   without‐ADHD) database)         level                     captured.                Database               gestational infections, and comorbid perinatal conditions.

                                                                                                                                                                                                                                Variable selection: a priori

                                                                                                                                                                                                                                Indication: None

                                                                                                                                                        Participants in the                                                 Other variables: maternal age at the child’s birth, child’s birth
                                                                                                                                                        Nurses Health Study                                                 order, child’s birth year, maternal gestational diabetes,
                                                                                                                                                        II who were asked to                                                preeclampsia, and self‐reported regular maternal use of aspirin or
                                                                                                                                                        fill up a medication Maternal self report of                        other nonsteroidal antiinflammatory drugs, and ketoprofen.
                                                                                                                                    No details          use questionnaire on regular acetaminophen                          Sensitivity analyses included many other variables including
                                                Births: 1993‐                                      Prospective                      included in the     the same year they use during the year of Maternal report of        maternal social factors, maternal smoking and alcohol drinking
30923825   Liew, 2019           Boston, MA      2005            OR = 1.34, 95% CI: 1.05, 1.72      cohort           N=8,856         paper               were pregnant        the child’s birth       ADHD diagnosis in 2013 during each pregnancy,
                                                                ALL SUBJECTS:                                                                                                                                               Variable selection: a priori
                                                                OR=1.10 (95% CI, 0.87–1.39) at 6
                                                                years                                                                                                                                 Score ≥ 7 for             Indication: None                                                      The authors cautioned that the
                                                                OR=1.20 (95%CI 0.96–1.49) at 11                                                                                                       inattention/hyperactivt                                                                         proportion of reported acetaminophen
                                                                years                                                                                                                                 y symptoms on the         Other variables: National Economic Index score (an SES                use during pregnancy was much lower
                                                                                                                                                                                                      Strengths and             estimator), sex, maternal educational level, age, skin color, parity, than expected (27% vs. 51% expected
                                                                BOYS: OR = 1.42; (95%CI:                            N=3470 (age 6                                             Maternal self report of Difficulties              smoking during pregnancy, alcohol during pregnancy, mood              based on other independent data in the
                                                                1.06–1.92) at 6 years                               analysis);     No details           All singleton live    acetaminophen use at Questionnaire (SDQ) ‐        issues during pregnancy, infections during pregnancy,                 region). Misreporting is likely to have
                                                                OR = 1.31; 95% CI: 0.99-1.73 at 11 Prospective      N=3447 (age 11 included in the      births in Pelota in   the post‐delivery       evaluated at age 6 and    prepregnancy BMI; and other nonsteroidal analgesic use during diluted the effects, resulting in a weaker
30458756   Tovo‐Rodirgues, 201 Pelota, Brazil   Births: 2004    years                              cohort           analysis)      paper                2044                  examination             11 years                  pregnancy.                                                            association




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PMID            Authors, Year       Location   Study Period    Risk Estimate                      Study Design   Sample Size     Missing data     Inclusion Criteria   Exposure Definition      Outcome definition        Confounders                                                           Notes




                                                                                                                                                                                                                          Variable selection: a priori
                                                               Adjusted HR (aHR) for long‐term
                                                               exposure (29 days or more) =                                                       Pregnant women                                Hyperkinetic disorder     Indication: pain conditions, fever/infections, chronic autoimmune
                                                               2.02, 95% C.I = 1.17–3.25.                                                         from all over                                 (F90) according to the    or inflammatory conditions, unspecified conditions, and other
                                                               aHR for short‐term exposure (1‐7                                                   Norway were invited                           10th revision of the      conditio.
                                                               days) = 0.87, 95% C.I. = 0.70‐1.08                                                 to their routine     Maternal                 International
                                                               aHR for short‐term exposure (8‐                                                    ultrasound           questionnaires at        Classification of         Other variables: birth, parity, child's sex, maternal age, maternal
                Gustavson, 2021                Pregnancies:    28 days) = 0.87, 95% C.I. =                                                        examination in       gestational weeks 17     Diseases (World Health    educational level, smoking, alcohol use, and symptoms of
Not in Pubmed   (Overall Study)     Norway     1999 ‐ 2008     0.70‐1.08                          Cohort         N=26,613        Exclusion        gestational week 17. and 30.                  Organization, 1993)       depression and anxiety.

                                                                                                                 Only discordant
                                                                                                                 siblings
                                                                                                                 contributed to
                                                                                                                 power; siblings
                                                                                                                 were                                                                                                     Variable selection: a priori
                                                                                                                 discordant on
                                                                                                                 exposure for 29                  Pregnant women                                Hyperkinetic disorder     Indication: pain conditions, fever/infections, chronic autoimmune The analysis emphasized in the paper
                                                                                                                 days and the                     from all over                                 (F90) according to the    or inflammatory conditions, unspecified conditions, and other       (>29 days of use) is based on a very small
                                                               aHR in the sibling control model ‐                outcome in 34                    Norway were invited                           10th revision of the      conditio.                                                           sample size. By design, the adjustment
                Gustavson, 2021                                long‐term exposure (29 days or                    families; the                    to their routine     Maternal                 International                                                                                 by family effect controls not only for
                (Sibling controlled                            more) ‐ adjusted by family effect                 total number of                  ultrasound           questionnaires at        Classification of         Other variables: birth, parity, child's sex, maternal age, maternal confounders but also for intermediates;
                study; controlled for          Pregnancies:    = 1.06 (95% C.I. = 0.51–2.05) at                  discordant                       examination in       gestational weeks 17     Diseases (World Health    educational level, smoking, alcohol use, and symptoms of            therefore, the results are largely
Not in Pubmed   family effect)        Norway   1999 ‐ 2008     the within‐family level            Cohort         siblings was    Exclusion        gestational week 17. and 30.                  Organization, 1993)       depression and anxiety.                                             uninformative



                                                                                                                                                                                                                          Variable selection: a priori
                                                                                                                                                                                               At 5 yrs of age, trained
                                                               OR = 1.5, 95% CI 1.0, 2.5 for                                                                                                   psychologists assessed     Indication: fever, inflammation or infection, and pain or
                                                               subnormal overall attention                                                                                                     child’s attention using    musculoskeletal diseases (adjusted for; also addressed in
                                                               OR = 1.5, 95% CI 1.0, 2.4 for                                                                                                   the Test of Everyday       subgroup analysis restricted to women who did not reported the
                                                               selective attention difficulties                                                                                                Attention for Children     indications)
                                                               OR = 1.5, 95% CI 0.9, 2.3 for                                     inverse          multiple imputations                         at Five (TEACh‐5).
                                                               parent‐rated subnormal executive                                  probability      to address missing                           Parents and preschool      Other variables: Maternal age at delivery, parity, IQ, mental
                                                               function.                                                         weights to       covariate values in  Maternal self reportsat teachers completed         health, pre‐pregnancy BMI, smoking during pregnancy, alcohol          Dose response relationships for the
                                                                                                                                 account for      all analyses (< 4%   gestational             Behaviour Rating           intake during pregnancy, parental education, child’s sex,             associations with global attention and
                                               Births: 1996‐   No significant associations with   Prospective                    refusals to      with at least one    weeks 12 and 30 and 6 Inventory of Executive       neuropsychological tester, and prenatal use of aspirin and            metacognition index for executive
28031314        Liew, 2016          Denmark    2002            executive function.                cohort         N=1,491         participate      missing value).      months postpartum       Function (BRIEF).          ibuprofen                                                             function.

                                                                                                                                                                                                                         Variable selection: a priori + associations with outcome &
                                                                                                                                                   Residents in the                             In person evaluation     exposure
                                                                                                                                                  cohort area, at least                         using ADHD Criteria of
                                                                                                                                                  16 years old,                                 the DSM‐IV at a mean Indication: fever, UTI, maternal chronic illnesses (included in the
                                                               IRR=1.25, 95%CI: 0.93–1.69 for                                                     singleton pregnancy, Maternal self reports of age of 4.8 years to      models and stratified for)
                                                               ADHD                                                                               planning to give      acetaminophe use        identify
                                               Births 2004‐    IRR = 1.41, 95% CI 1.01‐1.98 for   Prospective                                     birth at the          collected at weeks 12   hyperactivity/inattentio Other variables: cohort, child gender, age at testing, gestational Children were evaluated for ADHD when
27353198        Avella‐Garcia, 2016 Spain      2007            attention/impulsivity symptoms     cohort         N=1,382         NA               reference hospital    and 32 of pregnancy.    n symptoms               age at birth, and maternal social class, education, IQ.            they were 4.8 years of age in average.




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                                                                                                                                                                                                                                                                                                   Postnal maternal acetaminophen use and
                                                                                                                                                                                                                                                                                                   partner's use were not associated with
                                                                                                                                                                                                                                                                                                   ADHD. These were used as negative
                                                                                                                                                                                                                                                                                                   control exposures to exclude
                                                                                                                                                                                                                                                                                                   unmeasured/unknown confounders.

                                                                                                                                                                                                                                                                                                   Polygenic Risk Scores for ADHD were not
                                                                                                                                                                                                                                                                                                   associated with acetaminophen use,
                                                                                                                                                                                                                                                                                                   indicating that confounding by genetic
                                                                                                                                                                                                                                                                                                   factors was unlikely in this population.

                                                                                                                                                                                                                                                                                              N.B. This study is based on the ALSPAC
                                                                                                                                                                                                                                                                                              cohort in Avon, UK. Leppert , 2019 also
                                                                                                                                                                                                                                                                                              reported data on the same cohort in a
                                                                                                                                                                                                                                                                                              paper investigating the association
                                                                                                                                                                                                                          Variable selection: a priori                                        between genetics and ADHD risk factors,
                                                                                                                                                 Pregnant women                                                                                                                               which included also a secondary analysis
                                                                                                                                                 living in Avon,         Maternal self‐reports of                         Indication: muscle and joint problems, infections (cold or flu,     on acetaminophen and ADHD. Because
                                                              RR=1.27; 95% CI, 1.05‐1.53                                         Addressed using United Kingdom,         acetaminophen use in                             urinary, or other infections), migraine, headaches..                Stergiakouli 2016 is the paper from
                                                              (18 wk assessment)                                                 inverse‐        with expected           the previous three                                                                                                   ALSPAC specifically focusing on prenatal
                                                                                                                                 probability‐    delivery dates from     months collected at 18 Strength and Difficulties Other variables: maternal age at birth, parity, socioeconomic       acetaminophen and ADHD, this paper is
                                              Births: 1991‐   RR=1.43, 95% CI 1.18‐1.73             Prospective                  weighting (<1% April 1991 to            and 32 weeks of          Questionnaire (SDQ) at status, smoking and alcohol during pregnancy, prepregnancy BMI, reported here while Leppert was not
27533796   Stergiakouli , 2016   Avon, UK     1992            (32 wk assessment)                    cohort         N=7,996       missing)        December 1992           pregnancy.               age 7 years             self‐reported psychiatric illness, postnatal use, and partner's use considered.

                                                                                                                                                                                                                             Variable selection: a priori

                                                                                                                                                                                                                             Indication: High fever

                                                              β=1.1 (0.2, 2.0) for parent SDQ at                                                                                                                            Other variables: Small for gestational age, sex, age, paternal
                                                              7 yrs                                                                                                                                                         smoking during pregnancy, maternal education, smoking, during
                                                                                                                                                                                                                            pregnancy, marital status at birth, parity, socioeconomic status,
                                                              β=0.8 (‐0.1, 1.8) for parent SDQ at                                                                                                 Strength and Difficulties pre‐pregnancy BMI, stress in the last month of pregnancy, alcohol Results from using Parent Conner's test
                                                              11 yrs                                                                              Only children born     Maternal self‐reports of Questionnaire (SDQ)       in the first trimester, living with the child’s biological father at 3.5 are similar though moderately less
                                                                                                                                                  to mothers of          acetaminophen use        and Conner's Parent       and child activity levels at 3.5, visiting health care provider for      significant. The SDQ results are included
                                 Auckland,    Births: 1995‐   β=1.1 (0.2, 2.0) for child SDQ at 11 Prospective                                    European Ancestry      collected soon after     Rating Scale‐Revised at psychological conditions including depression and anxiety, taking because they feature assessments based
25251831   Thompson, 2014        Australia    1997            yrs                                  cohort          N=871         NA               were included          delivery                 age 7 and 11 years        medication during pregnancy for psychological conditions.                both on parents and child's ratings.
                                                              RRs for total SDQ>16:
                                                              RR=1.13 (1.01‐1.27) (any
                                                              acetaminophen use)
                                                              RR=1.24 (1.03‐1.48) (use in all 3
                                                              trimesters)

                                                              HRs for hospital‐diagnosed                                                                                                           Parent's Standardized
                                                              hyperkinetic disorder:                                                              Pregnant women                                   Strengths and
                                                              RR=1.37 (1.19‐1.59) (any                                                            from approximately                               Difficulties
                                                              acetaminophen use)                                                                  50% of all general                               Questionnaire (SDQ) at    Variable selection: a priori
                                                              RR=1.61 (1.30‐2.01) (use in all 3                                                   practitionersin                                  age 7 years; hospital
                                                              trimesters)                                                                         Denmark; women                                   diagnosis of              Indication: muscle and joint diseases, fever, and inflammation or
                                                                                                                                                  who spoke                                        hyperkinetic disorders    infections.
                                                              ADHD medication:                                                                    insuffiecient Danish                             (ICD10: F90.0‐F90.9);
                                                              HR=1.29 (1.15‐1.44) (any                                                            or did not intend to   Maternal self‐reports     use of ADHD               Other variables: child’s birth year, birth weight, and sex;           Acetaminophen use was collected using a
                                                              acetaminophen use)                                                                  complete their         during pregnancy          medications in the        maternal age at child’s birth, parity, gestational age at delivery,   telephone‐based computer‐assisted
                                 Norway,      Pregnancies:    HR=1.44 (1.21‐1.72) (use in all 3     Prospective                  multiple         pregnancy were         collected via three       Danish Prescription       socioeconomic status, smoking and alcohol during pregnancy,           interview that asked about a list of 44
24566677   Liew, 2014            nationwide   1996‐2002       trimesters)                           cohort         N=64,322      imputation       excluded               telephone interviews.     Registry                  prepregnancy BMI, self‐reported psychiatric illnesses.                common pain killers.




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PMID      Authors, Year       Location      Study Period   Risk Estimate                       Study Design   Sample Size   Missing data     Inclusion Criteria   Exposure Definition      Outcome definition       Confounders                                                    Notes
                                                                                                                                                                                                                    Variable selection: a priori

                                                                                                                                                                                                                    Indication: None
                                                           beta=‐3.25, SE=6.92; p=0.64 for
                                                           the association between                                                                                                                                 Other variables: Aspirin, antibiotics, alcohol, caffeine, and
                                                           acetaminophen use in the first                                                    Consecutive group    Maternal self‐reports at Attention tested with a nicotine use during pregnancy, nutrition during pregnancy,      The attention score used in the study
                                            Pregnancies:   half of pregnancy and the           Prospective                                   of women seeking     the 5th month of         vigilance paradigm      maternal education, age, and birth order, as well as for the    presents challenges in comparing it with
3603404   Streissguth, 1987   Seattle, WA   1974‐75        attention score used in the study   cohort         N=355         Exclusion        prenatal care        pregnancy                (Streissguth, 1984)     interaction between alcohol and nicotine                        the standardized methods used today.




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                                                                                                                                                         ASD‐Bias

                                                                               2. Blinding: Was knowledge of the 3. Exposure: Were 4. Outcomes: 5. Confounding: Was
                                                                                group assignments inadequately
                                          1. Selection: Was the strategy for prevented                                 exposure      Were outcome       potential
                                                                                                                                                                                                             Did the study receive any support 9. Did the study
                                                                                                                                                                    6. Were incomplete 7. Does the study 8.from  a company, study author, or appear to have other
  PMID                 Author                                                             (i.e., blinded or masked)
                                          recruiting participants consistent during the study, potentially leading to assessment      assessment      confounding      outcome  data    report appear  to    other  entity having a financial problems that could AVERAGE                       Notes
                                                 across study groups?                                                                                                  inadequately       have selective
                                                                               subjective measurement of either methods      lacking methods lacking
                                                                                                                       accuracy?       accuracy?
                                                                                                                                                      inadequately
                                                                                                                                                     incorporated?      addressed?     outcome  reporting?  interest in any of the exposures
                                                                                                                                                                                                                         studied?
                                                                                                                                                                                                                                                put it at a risk of
                                                                                                                                                                                                                                                       bias?
                                                                                      exposure or outcome?
34046850 Alemany, 2021                                                     1                               1                2                 1                     2                1                   1                                1                   1       1.2 This study included five cohort.
                                                                                                                                                                                                                                                                          Major strenghts in addressing bias due to
31664451 Ji, 2020                                                          1                               1                1                 1                     1                1                   1                                1                   1       1.0 objective masures of exposure in cord blood
                                                                                                                                                                                                                                                                          The analysis was only adjusted for age at ASD
                                                                                                                                                                                                                                                                          assessment and sex; the study was conducted to
                                                                                                                                                                                                                                                                          investigate the genetics of ASD and only
31042271 Leppert, 2019                                                     1                               1                2                 1                     4                1                   1                                1                   4       1.8 marginally focused on acetaminophen
27353198 Avella‐Garcia, 2016                                               1                               1                2                 1                     1                1                   1                                1                   1       1.1
                                                                                                                                                                                                                                                                          Retrospective study with minimal consideration
                                                                                                                                                                                                                                                                          of epidemiological methods, including
                                                                                                                                                                                                                                                                          confounding, prospective design, control
                                                                                                                                                                                                                                                                          selection, and (9)adjustment for matching
31565625 Saunders, 2019                                                   4                                4                4                 2                     4                1                   1                                1                   4       2.8 variables.
26688372 Liew, 2016                                                       1                                1                2                 1                     1                1                   1                                1                   1       1.1
Source: The Navigation Guide to Assess Risk of Bias in Toxicology and Environmental Health Studies
https://guides.himmelfarb.gwu.edu/systematic_review/reporting‐quality‐risk‐of‐bias

         1Low Risk of Bias
         2 Probably Low Risk of Bias
         3 Probably High Risk of Bias
         4 High Risk of Bias
        NA Not applicable




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                                                                                                                                                                         Strenght of       Expert opinion
                                                                                                                     e. control of                                     Evidence (Initial   score on study
PMID     Author, Year                  A. Size      b. Large Effect (>2)    c. Dose Response d. Internal consistency      bias         f. Other      Sum of criteria        score)             quality      Notes
34046850 Alemany, 2021                    2                  0                      0                    2                 1              NA               5                   1                  1
31664451 Ji, 2020                         0                  2                      2                    2                 2               2              10                  2                   2         d. Measurements in cord blood; f. stratification by fever
27353198 Avella‐Garcia, 2016              1                  0                      0                    2                 1              NA               4                   1                  1
26688372 Liew, 2016                       2                  1                      2                    2                 1              NA               8                  2                   2

Low quality studies (Excluded from the final evaluation of the strength of evidence                                                       0                 0

                                                                                                                                                                                                            Opinion based score lower because age and sex are the only variables
                                                                                                                                                                                                            adjusted for. This study indeed focused on the association between
                                                                                                                                                                                                            polygenic risk scores and ASD. The analysis of ASD and acetaminophen
31042271 Leppert, 2019                      2                0                        0                 ‐2                 ‐2             NA               ‐2                 0                 ‐2          was just supporting information included in supplementary materials
                                                                                                                                                                                                            Opinion score driven by retrospective design with minimal
                                                                                                                                                                                                            consideration of epidemiological methods, including confounding,
                                                                                                                                                                                                            prospective design, control selection, and adjustment for matching
31565625 Saunders, 2019                     ‐1               0                        0                 ‐2                 ‐2             NA               ‐5                 ‐1                ‐2          variables.

Table ‐ Grading of Strength of Each Study
Score      Study of Evidence
+2         Very Strong
+1         Strong
0          Moderate
‐1         Weak
‐2         Very weak/none




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PMID     1Authors, Year   I Location      1Study Period    1 Risk Estimate           IStudy Design          ISample Size   I Missing data      IInclusion Criteria   I Exposure Definition     IOutcome definition     I Confounders                                        1 Notes



                                                                                                                                                                     Mothers were                                      Variable selection: a priori
                                                                                                                                                                     interviewed 2‐4 times
                                                                                                                                                                     during pregnancy using                            Indication: None.                                    The exposure was assessed using
                                                                                                                                                                     standardized                                                                                           maternal questionnaires or interviews.
                                                                                                                                                                     questionnaires.                                   Other variables: Maternal and child covariates:
                                                                                                                                                                     Regarding postnatal                               age at delivery (years), education (low, medium, N.B.: This paper presents a combined
                                                                                                                                                                     acetaminophen                                     high), pre‐pregnancy body‐mass index (BMI),            analysis of 6 cohort studies in Europe.
                                                                                                                                               Mother‐Children       exposure, mothers                                 alcohol (yes/no), smoking (yes/no) and men‐ tal        Two of them had reported results in
                                                                                                                                               with available data were interviewed or                                 health problems (yes/no) during pregnancy, age other previous publications (Avella
                                                                                                                                               on either prenatal or completed                 Subscale of the         at birth (years) and parity (nulliparous, > 1 and > Garcia, 2016; Leppert 2019). However,
                          United Kingdom,                                                                                                      postnatal exposure questionnaires about         CBCL11⁄2‐5 and          2), maternal fever (yes/no) and infections             these two cohorts amounted to just
                          the Netherlands,                                                                                                     to acetaminophen      medication use in their   CBCL6/18 and the        (yes/no) during pregnancy; sex, age at                 approximately 10% of the entire sample
                          Denmark, Italy,                                                                                                      and at least one      children 1‐2 times in     ADHD Criteria of DSM‐   behavioural assessment (years), cold (yes/no) and size of this new combined study, which
                          Spain, and       Pregnancies:                                                                                        outcome (ADHD or the first 18 months of         IV (DSM‐ADHD            respira‐ tory infections (yes/no) in the first 2 years was therefore considered as including
34046850 Alemany, 2021    Greece           1991‐2008       OR = 1.19, 95% CI 1.07–1.3 Prospective cohorts   N=73,881       NA                  ASD)                  life of the child.        Questionnaire)          of life.                                               predominantly new original data.



                                                                                                                                                                                                                       Variable selection: a priori, variables associated
                                                                                                                                                                                                                       with exposure and outcome.

                                                                                                                           Missing data for                                                                            Indication: stratified analyses by fever showed no
                                                                                                                           sociodemograph Mothers who                                                                  differences between strata
                                                                                                                           ic characteristics delivered singleton
                                                                                                                           (<4%) imputed live births at Boston                                                         Other variables: maternal and child variables:
                                                                                                                           using multiple     Medical Center                                                           maternal age at delivery, maternal race/ethnicity,
                                                                                                                           imputation by      (BMC), excluding                                                         maternal educational level, marital status, stress
                                                                                                                           chained            conception via in                                                        during pregnancy, smoking before or during
                                                           Reference: Lowest tertile                                       equations          vitro fertilization,                                                     pregnancy, alcohol use before or during
                                                           2nd tertile: OR 2.14 (95%                                       (MICE) with the deliveries induced      Measurement of              Diagnosis from          pregnancy, maternal BMI, parity, child's sex,
                                                           CI, 0.93‐5.13)                                                  Predictive Mean by maternal trauma, acetaminophen in cord           Electronic medical      delivery type, preterm birth, and low birth weight. Objective measurements of fetal
                                                           3rd tertile: OR 3.62 (95%                                       Matching           or newborns with     blood samples (Fetal        records through 9.8                                                         exposure to acetaminophen in cord
31664451 Ji, 2020         Boston, MA       Births: 1998‐   CI, 1.62‐8.60)            Prospective cohort     N=996          method             major birth defects. blood)                      years of age in average                                                     blood (fetal blood).



                                                                                                                                                                                                                                                                            This study was designed to test the
                                                                                                                                                                                                                                                                            influence of maternal polygenic risk
                                                                                                                                                                                                                                                                            scores for neurodevelopmental disorders
                                                                                                                                                                                                                                                                            associated with early‐life exposures,
                                                                                                                                                                                                                                                                            including acetaminophen exposure.
                                                                                                                                                                                                a) being diagnosed with
                                                                                                                                           Pregnant women                                       Pervasive                                                                   N.B. This study is based on the ALSPAC
                                                                                                                                           living in Avon,                                      Developmental                                                               cohort in Avon, UK. Stergiakouli , 2016
                                                                                                                           Addressed using United Kingdom,           Maternal self report for Disorder using            Variable selection: a priori                        conduted a study dedicated specifically
                                                                                                                           inverse‐        with expected             the first and second half questions from the                                                           to prenatal acetaminophen and ADHD.
                                                                                                                           probability‐    delivery dates from       of pregnancy. Info was DAWBA questionnaire Indication: None                                            THerfore, Stergiakouli , 2016 is presented
                                           Births: 1991‐   RR=0.76; 95% CI, 0.51‐                                          weighting (<1% April 1991 to              collected at visits during at 91 months or b)                                                          in the ADHD tables, while Leppter 20190
31042271 Leppert, 2019    Avon, UK         1992            1.13                      Prospective cohort     N=7,786        missing)        December 1992             pregnancy and delivery. mother’s self report       Other variables: sex and age at ASD assessment.     is omitted in those tables.




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PMID     1Authors, Year        1 Location    1Study Period    1 Risk Estimate           1Study Design          1Sample Size    1 Missing data      1Inclusion Criteria   1 Exposure Definition   1Outcome definition      1 Confounders                                        1 Notes



                                                              CAST scores were
                                                              increased in ever‐exposed
                                                              males (b ¼ 0.63,
                                                              0.09–1.18). Increased
                                                              effect sizes of risks by
                                                              frequency of use were                                                                                                              In person evaluation
                                                              observed for                                                                                                                       using Childhood Autism
                                                              hyperactivity/impulsivity                                                                                                          Spectrum Test (CAST)13
                                                              symptoms (IRR ¼ 2.01,                                                                                                              which quantifies autism Variable selection: a priori + associations with
                                                              0.95–4.24) in all children,                                                                                                        spectrum symptoms in outcome & exposure
                                                              K‐CPT commission errors                                                               Women residing in                            children (each point
                                                              (IRR ¼ 1.32, 1.05–1.66)                                                              the cohort area, at                           represents one          Indication: fever, UTI, maternal chronic illnesses
                                                              and detectability (b                                                                 least 16 years old,                           symptom of ASC with a (included in the models and stratified for)
                                                              ¼[1]0.18, [1]0.36–0.00) in                                                           singleton pregnancy, Maternal self reports of cut‐off of 15 or more
                                                              females, and CAST scores                                                             planning to give     acetaminophe use         points, having a 100% Other variables: cohort, child gender, age at
                                             Births 2004‐     in males (b ¼ 1.91,                                                                  birth at the         collected at weeks 12    sensitivity and 97%     testing, gestational age at birth, and maternal       Children were evaluated for ASD when
27353198 Avella‐Garcia, 2016   Spain         2007             0.44–3.38).                 Prospective cohort   N=1,255         NA                  reference hospital   and 32 of pregnancy.     specificity for ASC     social class, education, IQ.                          they were 4.8 years of age in average.

                                                                                                                                                   ASD cases identifed
                                                                                                                                                   from clinical
                                                                                                                                                   records, four local
                                                                                                                                                   pediatricians, and   Maternal self reports at
                                                                                                                                                   recruitment posters; the time of the study
                                             Not specified,                                                                    14 participants     controls from        (after ASD diagnoses),
                                             Ethics Board                                                      N=215 (107      with missing        recruitment posters, when children were       ASD diagnoses before                                                          In addition to no consideration of
                               Saint John,   approval in 2013‐ Not provided, but not                           ASD cases and   data were           matched by sex and between 0‐10 years of age 6 years, reported                                                              confounders, matching variables were
31565625 Saunders, 2019        Canada        2014              significant (p=0.66)      Case‐control          108 controls)   excluded            age.                 age.                     by the mother.            None considered                                     not considered

                                                                                                                                                                                                                          Variable selection: a priori

                                                                                                                                                                                                                          Indication: fmaternal fever,
                                                                                                                                                                                                                          inflammation/infection, or diseases in
                                                                                                                                                                                                                          muscle/joint
                                                                                                                                                 pregnancies
                                                              HR=1.19 (95% CI 1.04‐                                                              between 1996‐2002,                                                       Other variables: child's sex, birth year, maternal
                                                              1.35)                                                                              recruited at weeks 6‐                                                    age, parity, socioeconomic status, maternal
                                                              HR =1.51, 95% CI 1.19,                                                             12. Exclusion                                   ASD hosptial             smoking and alcohol drinking during pregnancy,
                                                              1.92 for ASD with                                                Multiple          criteria: women who                             admissions from the      and maternal prepregnancy BMI, self‐reported
                                                              hyperkinetic symptoms.                                           imputation for did not speak Danis Maternal self reportsat        Danish National          maternal psychiatric illness, nonsteroidal anti‐
                                                              HR = 1.06, 95% CI 0.92,                                          missing values in or did not intend to gestational                Hospital Registry        inflammatory drugs, maternal folic acid
                                             Births: 1996‐    1.24 for other types of                                          covariates (<5% carry their             weeks 12 and 30 and 6     Danish Psychiatric       supplementary intake.ter, and prenatal use of        Dose response relationship for duration
26688372 Liew, 2016            Denmark       2002             ASD                        Prospective cohort    N=64,322        of participants) pregnancy to ter.      months postpartum         Central Registry         aspirin and ibuprofen                                of use




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                                                                                2. Blinding: Was knowledge
                                                                                 of the group assignments
                                                                                                              3. Exposure: Were    4. Outcomes:     5. Confounding: Was                                           8. Did the study receive any support   9. Did the study
                                                                               inadequately prevented (i.e.,                                                            6. Were incomplete    7. Does the study
                                            1. Selection: Was the strategy for                                     exposure       Were outcome             potential                                               from a company, study author, or appear to have other
                                                                                 blinded or masked) during                                                                 outcome data       report appear to
    PMID                  Author            recruiting participants consistent                                    assessment        assessment           confounding                                                  other entity having a financial  problems that could AVERAGE                            Notes
                                                                               the study, potentially leading                                                              inadequately         have selective
                                                   across study groups?                                        methods lacking    methods lacking        inadequately                                                interest in any of the exposures    put it at a risk of
                                                                                to subjective measurement                                                                   addressed?       outcome reporting?
                                                                                                                   accuracy?         accuracy?          incorporated?                                                             studied?                      bias?
                                                                                    of either exposure or
                                                                                          outcome?



33230558       Inoue, 2021                                  1                               1                        2                   1                  1                      1                 1                            1                           1             1.1
31448449       Tronnes, 2020                                1                               1                        2                   1                  1                      2                 1                            1                           1             1.2
31965601       Bertoldi, 2020                               1                               1                        2                   1                  1                      1                 1                            1                           1             1.1
                                                                                                                                                                                                                                                                                      Not a population‐based study, but a case‐control study
                                                            3                               2                        3                   2                  1                      2                 1                            1                           1             1.8
31693212        Parker, 2020                                                                                                                                                                                                                                                                      for craniofacial malformation.
31637744        Rifas‐Shiman, 2020                          1                               1                        2                   1                  1                      1                 1                            1                           1             1.1

                                                                                                                                                                                                                                                                                     Collection of data about acetaminophen exposure is very
                                                            1                               1                        3                   1                  1                      1                 1                            1                           1             1.2
                                                                                                                                                                                                                                                                                         wide (perinatal period) and did not include dose.
32196712       Tovo‐Rodriguez, 2020
30202886       Laue, 2019                                   1                               1                        1                   1                  1                      1                 1                            1                          2              1.1                        Limited sample size
31523834       Golding, 2019                                1                               1                        2                   1                  2                      2                 1                            1                          2              1.4

                                                                                                                                                                                                                                                                                        Adjustment was not adequate, and did not include
                                                            1                               1                        1                   1                  2                      2                 1                            1                          2              1.3      confounding by indication. There is no information about
                                                                                                                                                                                                                                                                                                how they handled missing data.
29331486        Bornehag, 2018
29550610        Ruisch, 2018                                1                               1                        2                   1                  2                      2                 1                            1                          2              1.4
                                                                                                                                                                                                                                                                                        The language grammar rating scale is not a widely
                                                            1                               1                        1                   3                  1                      1                 1                            1                           1             1.2
28168770       Skovlund, 2017                                                                                                                                                                                                                                                                          accepted method.
27479646       Liew, 2016                                   1                               1                        2                   1                  1                      1                 1                            1                           1             1.1
27585674       Vlenterie, 2016                              1                               1                        2                   1                  1                      2                 1                            1                           1             1.2
24163279       Brandlistuen, 2013                           1                               1                        2                   1                  1                      1                 1                            1                           1             1.1
3603404        Streissguth, 1987                            1                               1                        2                   1                  1                      2                 1                            1                           1             1.2

Source: The Navigation Guide to Assess Risk of Bias in Toxicology and Environmental Health Studies
https://guides.himmelfarb.gwu.edu/systematic_review/reporting‐quality‐risk‐of‐bias



             1Low Risk of Bias
             2 Probably Low Risk of Bias
             3 Probably High Risk of Bias
             4 High Risk of Bias
            NA Not applicable




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                                                                                                                         Other NDDs‐Study grading




                                             b. Large Effect                  d. Internal                                          Average of                          Strenght of        Expert opinion score
PMID        Author, Year             A. Size (>2)            c. Dose Response consistency       e. Control of bias f. Other        criteria            Sum of criteria Evidence          on study quality      Notes
33230558    Inoue, 2021                     2              0                 1              2                    1                              1.2                  6               1                      1
31448449    Tronnes, 2020                   2              1                 0              0                    1                              0.8                  4               1                      1
31965601    Bertoldi, 2020                  1              0                 0              2                    0                              0.6                  3               1                      1 This is two studies in one. Not really a thing
                                                                                                                                                                                                              Not a population‐based study, but a case‐control study for
31693212     Parker, 2020                   0              0                 0              2                    1                              0.6                  3               1                      0 craniofacial malformation.
31637744     Rifas‐Shiman, 2020             1              1                 2              2                    1                              1.4                  7               1                      1

                                                                                                                                                                                                              Lack of accuracy in the assessment of the exposure was noted
32196712    Tovo‐Rodriguez, 2020            1             ‐1                 0              2                    1                              0.6                  3               1                      0 (questionnaires during the perinatal period). No dose was included.
                                                                                                                                                                                                              The list of confounders is limited. Authors recognize potential
31523834     Golding, 2019                   2             0                 0              2                    0                               0.8                 4               1                      0 residual confounding.
30202886     Laue, 2019                     ‐2            ‐1                 0              0                    2                              ‐0.2                ‐1               0                     ‐1 Limited sample size
                                                                                                                                                                                                              In general, it is a well‐designed study. Adjustment is a concern, but
29331486    Bornehag, 2018                  0              2                 0              0                   ‐1                              0.2                  1               0                      0 exposure assessment is a strength.
29550610    Ruisch, 2018                    2              1                 0              2                   ‐1                              0.8                  4               1                      1
28168770    Skovlund, 2017                  2              0                 2              2                    0                              1.2                  6               1                      1
27479646    Liew, 2016                      1              1                 0              1                    1                               0.8                 4               1                      1
27585674    Vlenterie, 2016                 2              0                 0              2                    1                               1.0                 5               1                      1
24163279    Brandlistuen, 2013              1              1                 0              2                    1                               1.0                 5               1                      1
3603404     Streissguth, 1987               ‐1            ‐1                 0              0                    1                              ‐0.2                ‐1               0                      0 This study has a limited sample size.


Table ‐ Grading of Strength of Each Study
Score       Study of Evidence
+2          Very Strong
+1          Strong
0           Moderate
‐1          Weak
‐2          Very weak/none




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PMID       1Authors, Year   1 Location   1Study Period   1 Risk Estimate                            1Study Design   1Sample Size   1 Missing data   1 Inclusion Criteria    1Exposure Definition      1 Outcome definition       1Confounders                                                      1 Notes




                                                         Risk Ratios (RR) for Behavioral
                                                         Difficulties at Age 11 Years According to
                                                         Prenatal Exposure to Acetaminophen:
                                                         Parent reported:                 Strengths
                                                         and Difficulties Questionnaire (SDQ) ‐                                    Multiple
                                                         composite score: 1.14 (95% CI: 1.01,                                      imputation (Ten
                                                         1.29).      Internalizing: 1.09, (95% CI:                                 simulated
                                                         1.00, 1.19).                                                              complete data
                                                         SDQ ‐ Emotional symptoms: 1.16 (95% CI:                                   sets were                                                                                     Potential confounders were selected a priori, including mother’s
                                                         1.09 ‐1.24).             Hyperactivity: 1.12                              generated                                                                                     age at childbirth, parity, socio‐occupational status, maternal
                                                         (1.02, 1.24). Child-reported:                                             assuming         Mothers, with live‐born                                                      prepregnancy body mass index, and birth year. They additionally
                                                         Strengths and Difficulties Questionnaire                                  multivariate     children, whose                                                              adjusted for maternal smoking during pregnancy, maternal
                                                         (SDQ) ‐ composite score: 1.40 (95% CI:                                    normal           answered the study        Information about                                  alcohol intake during pregnancy, mother’s self‐reported
                                                         1.20, 1.63).      Internalizing: 1.13, (95%                               distribution for enrollment form and       acetaminophen                                      psychiatric illnesses before and during pregnancy, indications for
                                                         CI: 1.04, 1.23).                                                          about 8% of      the 3 subsequent          exposure was obtained   Children’s behaviors were maternal acetaminophen use (including diseases of muscles or
                                                         Externalizing: 1.13, (95% CI: 1.05, 1.22).                                participants who telephone interviews      from the study          assessed based on the      joints during pregnancy, episodes of fever during pregnancy, and
                                                         SDQ ‐ Emotional symptoms: 1.17 (95% CI:                                   had at least 1   (12th and 30th            enrollment form and 3   standardized Strengths and inflammation/infections during pregnancy), and prenatal use of
                                                         1.02 ‐1.34).              Hyperactivity:                                  missing          gestational weeks and computer‐assisted           Difficulties Questionnaire nonsteroidal antiinflammatory drugs such as aspirin and            This study showed very consistent
33230558   Inoue, 2021      Denmark      1996–2002       1.18 (1.08, 1.29).                           Cohort        N = 40,934     covariate value) at 6 months after birth). telephone interviews.   (SDQ).                     ibuprofen.                                                         associations.




                                                                                                                                                                                                   Communication skills were
                                                                                                                                                                                                   assessed by the Ages and
                                                                                                                                                                                                   Stages Questionnaire
                                                                                                                                                                                                   (ASQ).
                                                                                                                                                                                                   Selected items from The
                                                                                                                                                                                                   Child Behaviour Checklist
                                                                                                                                                                                                   (CBCL) for preschool
                                                                                                                                                                                                   children (CBCL/ 1.5–5) were
                                                                                                                                                                                                   used to assess children’s
                                                                                                                                                                                                   behaviour.
                                                         Paracetamol exposure during pregnancy                                                                                                     Temperament was assessed
                                                         and behavioural problems in preschool‐                                                                                                    by the short version of the Confounders selected a priori: maternal age at delivery, marital
                                                         age:          Paracetamol use in three                                                                                                    Emotionality, Activity and status, education level, parity, pre‐pregnancy body mass index
                                                         trimesters: Adjusted RR: 1.36 (1.02, 1.80).                                                                                               Shyness Temperament         (BMI), folic acid supplement, smoking habits, alcohol use,
                                                         Paracetamol exposure during pregnancy                                     NA (not even in Pregnant women at        Information about      Questionnaire (EAS). All    symptoms of anxiety and depression (measured by a short
                                                         and temperamental traits: Paracetamol                                     the             their routine ultrasound medication use was     outcomes were parent‐       version of the Hopkins Symptoms Checklist (SCL‐5)30), maternal
                                                         use in two trimesters ‐ Shyness:                                          supplementary examination at             obtained from two      reported when the child     health conditions during pregnancy, concomitant medication use, Pain conditions, headache or migraine,
31448449   Tronnes, 2020    Norway       1999 ‐ 2008     Adjusted RR: ‐0.62 (95% CI -1.05, -0.19) Cohort            N = 32,934     material)       gestational week 17–18 prenatal questionnaires. was 5 years old.            and child sex.                                                   and fever or infection were questioned.




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                                                              Project Viva:                 Exposure
                                                              to acetaminophen in both the 1st and
                                                              2nd trimester of pregnancy and early
                                                              childhood cognitive outcomes:
                                                              Wide Range Achievement of Visual Motor                                                     Project Viva: Women
                                                              Abilities (WRAVMA) ‐ drawing: β: ‐1.53                                                     with single pregnancies, Project Viva: Mothers
                                                              (95% CI: ‐2.93, ‐0.13)                                                                     who had intention to     were asked to
                                                              Exposure to acetaminophen during                                          To address the remain in the              categorize their
                                                              pregnancy:                                                                issue of missing geographical area, were acetaminophen use          Project Viva: Children's
                                                              WRAVMA ‐ drawing: β: ‐0.63 (95% CI: ‐                                     outcome data, fluent in English and       during this pregnancy     cognition using the
                                                              1.20, ‐0.06)                Pelotas                                       they             presented by the 22nd for the early pregnancy Peabody Picture                 Project Viva: Maternal reported age at enrollment,
                                                              cohort:                                                                   implemented      week of gestation.       interview (1st trimester) Vocabulary Test (PPVT‐III) race/ethnicity, education, household income, parity, alcohol
                                                              Exposure to acetaminophen in both                                         inverse          Pelotas: All women       and in the past 3         and the Wide Range         intake during pregnancy, smoking status, ibuprofen use during
                                                              the 1st and 2nd trimester of pregnancy                                    probability      who gave birth in any of months for the mid‐       Achievement of Visual      pregnancy, and pre‐pregnancy body mass index, antibiotic use,
                                                              and early childhood cognitive                                             weighting (IPW). the five maternity       pregnancy interview       Motor Abilities (WRAVMA). depressive symptoms, child sex and birth‐ weight, child's day care
                                                              outcomes:        INTERGROWTH‐21st                                         They did not use hospitals of the city of (2nd trimester).          Pelotas: Children's        attendance, respiratory tract infections since birth, and use of
                                                              Neurodevelopment Assessment (INTER‐                                       multiple         Pelotas from 1 January Pelotas: Women were cognitive development at a ibuprofen ≥6 times in the first year of life. Pelotas: age,
                                                              NDA): Total: β: 0.09 (95% CI: 0.02, 0.16).                                imputation       to 31 December 2015, asked about any               24‐month follow‐up visit   education level, self‐reported skin colour, and family income,
                                                              Exposure to acetaminophen during the                      Project Viva: N because most     and lived in the urban medication use during was evaluated using the          parity, any smoking and alcohol intake during pregnancy, prenatal
                                             1999 and 2002,   1st, 2nd, and 3rd trim:                                   = 1,217.        covariates had area of the                pregnancy at prenatal     INTERGROWTH‐21st           depressive/ anxiety symptoms, any antibiotic use during
                                             Project Viva;    INTER‐NDA: Total: β: 0.10 (95% CI: 0.02,                  Pelotas: N =    <5% missing      municipality, were       and perinatal             Neurodevelopment           pregnancy, and ibuprofen use during pregnancy, pre‐pregnancy
31965601   Bertoldi, 2020   USA ‐ Brazil     Pelotas 2015     0.18)                                      Cohorts        3,818           values.          invited to participate.  interviews.               Assessment (INTER‐NDA). BMI, and newborn sex at birth.                                       This is two studies in one




                                                                                                                                                                                                                                                                                                           Data used in this analysis were originally
                                                                                                                                                                                                            The Child Behavior                                                                             collected as part of a study of risk factors
                                                                                                                                                                                                            Checklist (CBCL) and the                                                                       for and sequelae of a craniofacial
                                                              Any use of acetaminophen was                                                                Data on maternal                                  Teacher‐Report Form (TRF),                                                                     malformation, hemifacial microsomia.
                                                              associated with mother‐reported                                                             exposures during         Standardized interview   tests that are part of the                                                                     Controls were non‐malformed children
                                                              behavioral problems (mean differences                                                       pregnancy and at least   administered after       Achenbach System of         Covariates in the adjusted models were selected a priori and       that were matched to cases on birth year
                                                              [MD] 2.2, 95% CI 0.3, 4.1).      The MD                                                     one                      delivery and prior to    Empirically Based          included maternal age, race, education, marital status, parity,     and pediatric practice or practices within
                                                              was similar for both internalizing (MD 2.5,                                                 neurodevelopmental       childhood                Assessment (ASEBA), were drinking and smoking during early pregnancy. Models were also the same zip code. Memory bias may be
                                                              95% CI 0.8, 4.3) and externalizing (MD                                                      assessment in            neurodevelopmental       used to assess common      adjusted for four indication categories: headache, fever, pain, and affecting the results (nterviews after
31693212   Parker, 2020     USA and Canada   1996 ‐ 2002      1.9, 95% CI 0.1, 3.7) broadband scales      Cohort        N= 560          NA                childhood.               assessments.             child behavior problems.   upper respiratory infection without fever, including allergy.       delivery).




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PMID       1Authors, Year    1 Location   1Study Period   1 Risk Estimate                             1Study Design   1Sample Size   1 Missing data   1 Inclusion Criteria    1Exposure Definition     1 Outcome definition          1Confounders                                                       1 Notes



                                                          Acetaminophen during pregnancy (≥10
                                                          versus <10 times) and mid- childhood
                                                          executive function and behavoiur.
                                                          Behaviour Rating Inventory of
                                                          Executive Function (BRIEF) Global
                                                          Executive Composite: β 1.64 (95% CI
                                                          0.59, 2.68).
                                                          Behaviour Regulation Index: β 1.45
                                                          (95% CI 0.44, 2.47).
                                                          BRIEF Metacognition Index: β 1.29
                                                          (95% CI 0.29, 2.30).
                                                          Infancy exposure (≥6 versus <6 times)
                                                          to acetaminophen and higher parent­
                                                          rated BRIEF - Global Executive
                                                          Composite score (GEC) scores:                                                                                       Mothers were asked to
                                                          BRIEF - Global Executive Composite:                                                                                 categorize their
                                                          β 1.69 (95% CI 0.51, 2.87).                                                                                         acetaminophen use
                                                          Behaviour Regulation Index: β 1.26                                                           Women with single      during this pregnancy
                                                          (95% CI 0.08, 2.45).                                                                         pregnancies, who had for the early pregnancy
                                                          BRIEF Metacognition Index: β 1.67                                                            intention to remain in interview (1st trimester) Behavoiur Rating Inventory   Age, education, parity, pregnancy smoking status, and household
                                                          (95% CI 0.54, 2.81).                                                                         the geographical area, and in the past 3         of Executive Function        income and their child’s race/ethnicity, depressive symptoms in
                                                          Strengths and Difficulties                                                                   were fluent in English months for the mid‐       (BRIEF) and the Strengths    mid‐pregnancy using the Edinburgh Postpartum Depression Scale
                                                          Questionnaire (SDQ) Total Difficulties:                                    Multiple          and presented by the   pregnancy interview       and Difficulties             (EPDS), antidepressant and antibiotic use during pregnancy, infant The consistency of results in this study is
31637744   Rifas‐Shiman, 2020 USA         1999 ‐ 2002     β 1.19 (95% CI 0.58, 1.80).             Cohort              N = 1,225      imputation        22nd week of gestation (2nd trimester)           Questionnaire (SDQ)          sex, birthweight.                                                  impressive.




                                                          Acetaminophen during pregnancy and                                                                                                             The screening version of
                                                          neurodevelopmental performance:                                                                                      Standardised              Battelle's Developmental    Family Wealth Index Quotient (WIQ) in the month prior to
                                                          Low performance in BDI: RR 1.00 (0.78,                                                                               questionnaire applied at Inventory (BDI) was used to delivery, maternal schooling, age, skin colour, marital status,
                                                          1.28)                     Social‐personal                                                                            the perinatal evaluation. assess the children's       parity, smoking during pregnancy, alcohol consumption during
                                                          area: RR 1.00 (0.80, 1.25).                                                                                          The use of                development at 24 months pregnancy, mood symptoms during pregnancy, pre‐gestational
                                                          Adaptative area: RR 0.91 (0.76, 1.08).                                     Missing data                              acetaminophen was         of age.               Child body mass index, prenatal care (number of antenatal care
                                                          Motor area RR 0.91 (0.71, 1.16).                                           was handled      Mothers were those       defined as at least once behavioural/ emotional       appointments attended during pregnancy), infectious diseases
                                                          Communication area: RR 1.04 (0.84,                                         using inverse    living in the urban area during pregnancy,         problems were assessed at during pregnancy, high blood pressure and diabetes mellitus           Collection of data about acetaminophen
           Tovo‐Rodriguez,                                1.30).                         Cognitive                                   probability      of Pelotas or in Jardim regardless of the dose     48 months using the Child diagnosis during pregnancy, usage of other nonsteroidal               exposure is very wide (perinatal period)
32196712   2020              Brazil       2004            area: RR 0.92 (0.83, 1.02).                 Cohort          N = 3,737      weighting (IPW). América.                 used.                     Behaviour Checklist (CBCL) analgesic, and child sex.                                            and did not include dose.




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                                                           Mean differences in cognition and
                                                           behaviour measures and paracetamol
                                                           exposure at 18-32 wk gestation:
                                                           IQ ‐ Freedom from distractibility at 8y:
                                                           Adjusted mean difference (AMD): ‐0.35
                                                           (95% CI ‐0.69, ‐0.00).   M.SDQ
                                                           Hyperactivity at 42 mo: AMD +0.16 (95%                                                                                                                                      The identification of potential confounders used an exposome
                                                           CI +0.07, +0.25).    M.SDQ Hyperactivity                                                                                                      Strengths and Difficulties    technique that involves the identifying all factors that were
                                                           at 47 mo: AMD: +0.22 (95% CI +0.10,                                                                                                           Questionnaire (SDQ). 18       associated at P < .0001 with paracetamol intake at 32 weeks
                                                           +0.33).         Development and                                                             Pregnant women who                                measures of cognitive         gestation in unadjusted analyses. This included Medical history
                                                           Well‐being Assessment (T.DAWBA)                                                             were resident in Avon,                            function considered, the      (history of asthma, history of indigestion, history of back pain,
                                                           Attention at 7‐8 y: AMD: +0.45 (95% CI                                                      UK with at least one                              eleven relating to IQ (not    history of migraine, pre‐pregnancy BMI), comorbidity in the         Early during‐pregnancy exposure may be
                                                           +0.11, +0.79).                                                                              questionnaire had been                            clear what test they used).   period 18‐32 (ppor health, cold, other infections, headach),        missed (memory bias). Also, this study
                                                           T.DAWBA Attention/ Activity at 7‐8 y:                                                       returned, and no       Questionnaire at about     11 measures of the child's    healthy diet score, processed diet score, alcohol consumption,      only included exposure from 18‐32
31523834   Golding, 2019    UK            1991 ‐ 1992      AMD: +0.53 (95% CI +0.02, +1.04).        Cohort            N = 12,418     NA                misscarriage.          32 weeks gestation.        temperament (not clear        domestic social score, Parity +1.                                   weeks, not earlier or later.




                                                           Estimates for the association between                                                                              Acetaminophen was
                                                           prepregnancy acetaminophen exposure                                                                                extracted from < 120
                                                           and neurocognitive development:                                                             Pregnant women living mg meconium by a                                          Maternal characteristics (maternal age at delivery, maternal
                                                           Coding:                            Low                                                      in Sherbrooke, Quebec, solid‐liquid extraction in Neurocognitive                prepregnancy body mass index, parity, and maternal Raven
                                                           exposure: 1.03 (95% CI ‐0.22, 2.29).                                                        Canada recruited       ethyl acetate followed development was                   Matrix score at the follow‐up visit as a measure of maternal
                                                           High exposure: 0.74 (‐0.54, 2.01) Block                                                     between 2007 and 2009 by a purification           evaluated using the           intelligence); child characteristics (sex, gestational age, birth
                                                           Design subtest:               Low                                                           during the first       with a dispersive solid    Wechsler Intelligence Scale   weight, 5‐min Apgar score, and age at follow up visit), and
                                                           exposure: 1.03 (95% CI ‐0.22, 2.29).                                                        trimester of pregnancy phase extraction in        for Children, 4th edition     socioeconomic characteristics (maternal education and family
30202886   Laue, 2019       Canada        2007 ‐ 2009      High exposure: ‐0.92 (95% CI ‐2.20, 0.37) Cohort           N = 118        Excluded          and at delivery.       acetonitrile.              (WISC‐IV)                     income).                                                            Sample size is very limited (N=118)

                                                           Paracetamol exposure during
                                                           pregnancy and oppositional-defiant
                                                           disorder (ODD) and conduct disorder
                                                           (CD) symptoms:                     ODD
                                                           scores ‐ Teacher rated: Incidence rate                                                      Pregnant women who
                                                           ratio (IRR): 1.21 (1.06, 1.38).                                                             were resident in Avon,
                                                           CD symptom scores ‐ Maternal rated: IRR                    N ≈ 6,300 for                    UK with at least one
                                                           1.14 (1.05, 1.24).              CD                         maternal and N                   questionnaire had been                            Development and Well‐         Offspring sex, socioeconomic status, young maternal age (age <
                                                           symtom scores ‐ Teacher rated: 1.25                        ≈ 4,400 for                      returned, and no       Questionnaires at 18       Being Assessment              20 at delivery), and single parent status during pregnancy. It also Some relevant confounders were not
29550610   Ruisch, 2018     UK            1991 ‐ 1992      (1.01, 1.53)                            Cohort             teacher ratings NA               misscarriage.          weeks gestation            (DAWBA).                      added genetic risk scores to the models.                            included (infections, pain).



                                                                                                                                                                              Two exposure measures
                                                           Odds ratio (OR) for language delays                                                                                were used: (1)
                                                           among girls whose mothers reported >6                                                                              maternally reported
                                                           vs. 0 acetaminophen tablets during                                                                                 number of
                                                           pregnancy: 5.92 (95% confidence interval                                                                           acetamoniphen tablets
                                                           (CI) 1.10–31.94).                                                                                                  taken between
                                                                                                                                                       Pregnant women who conception and
                                                           OR for LD in girls whose mothers’ urinary                                                   could read Swedish and enrollment; (2)       A nurse evaluation and a
                                                           APAP was in the highest compared to                                                         were not planning to   acetaminophen urinary parental questionnaire on Maternal weight, mother’s education, smoking and week of         The adjustment is poor (e.g., no
                                                           the lowest quartile: 10.34 (95% CI                                                          move out of the        concentration at      language use at 30 months enrollment. Urinary acetaminophen was creatinine‐adjusted in all adjustment by indication), but the
29331486   Bornehag, 2018   Switzerland   2007 ‐ 2010      1.37–77.86).                              Cohort           N = 754        NA                country                enrollment.           of age.                   analyses                                                         exposure assessement is a strength.




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                                                          Odds ratios of having a child with
                                                          lower communication skills
                                                          according to use of paracetamol:                                                         Pregnant women in                                  Language competence at 3 Maternal and paternal education level, marital status and
                                                          Two periods (trimesters): Adjusted OR                                                    Norway who accepted       Mothers were asked to    years of age was evaluated maternal work situation during pregnancy, information on
                                                          1.09 (95% CI 1.04–1.15)                                                                  to participate prior to   report on medication     by a validated language     whether the pregnancy was planned or not, the use of folic acid It was primarily designed to study opiods
                                                          Three periods (trimesters): Adjusted                                                     the first ultrasound      use at pregnancy weeks   grammar rating scale (Dale, supplements in early pregnancy, pre‐pregnancy body mass index, during pregnancy. The dose response is
28168770   Skovlund, 2017    Norway       1999 ‐ 2008     OR 1.17 (95% CI 1.06–1.30)              Cohort          N = 58,410     Excluded          scan at weeks 17–18.      17–18 and 30.            2003; PMID: 14696985).      maternal and paternal age and parity.                           very suggestive.



                                                                                                                                                   The sampling was
                                                                                                                                                   based on maternal
                                                                                                                                                   alcohol and binge
                                                                                                                                                   drinking reported
                                                                                                                                                   during pregnancy with
                                                                                                                                                   an oversampling
                                                                                                                                                   strategy (high alcohol
                                                                                                                                                   intake during                                     Child iQ was assessed using
                                                                                                                                                   pregnancy) to select the                          the Wechsler Primary and
                                                                                                                                                   high‐alcohol‐exposed                              Preschool Scales of
                                                                                                                                                   subgroup.                                         intelligence‐revised (WPPSi‐
                                                                                                                                                   Women who spoke          information about        r). The cohort used a
                                                          Prenatal acetaminophen and IQ:                                                           insufficient Danish or   acetaminophen use was shorter version that            Confounders selected a priori: child’s sex, mother’s age at child   The oversampling was based on high
                                                          Mean difference in full‐scale IQ in 1–5                                                  did not intend to        collected in three       includes three verbal and    birth, parity, parental education index, maternal iQ, maternal      alcohol consumption and only 51%
                                                          weeks of use: ‐3.1 (95% CI: ‐5.6,‐0.68).                                                 complete their           telephone interviews     three performance sub‐       smoking during pregnancy, maternal average alcohol intake           participated of those invited. However,
                                                          Mean difference in performance IQ in 1–5                               Multiple          pregnancy were           conducted at gestational tests designed to shorten    during pregnancy, and prenatal use of nonsteroidal anti‐            they used appropriate statistical analysis
27479646   Liew, 2016        Denmark      1996–2002       weeks of use: ‐4.1 (95% CI: ‐7.3, ‐0.88) Cohort         N = 1,491      imputation        excluded.                weeks 12th and 30th.     test duration.               inflammatory drugs, such as aspirin and ibuprofen.                  to correct for that.




                                                                                                                                                                                                   Psychomotor development
                                                                                                                                                                                                   at the age of 18 months
                                                                                                                                                                                                   was assessed by the Ages
                                                                                                                                                                                                   and Stages Questionnaire
                                                                                                                                                                                                   (ASQ).                   The
                                                                                                                                                                                                   Child Behaviour Checklist
                                                          Paracetamol exposure and psychomotor                                                                                                     (CBCL/11/2‐5/LDS) was
                                                          and behavioural outcomes in 18‐omnth‐                                                                                                    used to assess behaviour at
                                                          old infants: Psychomotor problems:                                                                                                       18 months.                   Maternal age at delivery, pre‐pregnancy body mass index, parity,
                                                          Fine motor: OR: 1.17 (95% CI. 1.01‐1.36)                                                                                                 Temperament among            marital status or cohabiting, maternal education, smoking and
                                                          Delayed motor milestone attainment: OR:                                                                                                  infants at the age of 18     alcohol consumption and folic acid use. Maternal depressive
                                                          1.35 (95% CI 1.07–1.70)                                                                                                                  months was assessed with symptoms were also included infections (genital, urinary, and
                                                          Communication: OR: 1.32 (95% CI: 1.05‐                                                   Pregnant women at        Information about      the short‐form               respiratory), fever, headache or migraine, pelvic girdle pain, back
                                                          1.66)                Behavioural                                                         their routine ultrasound medication use was     Emotionality, Activity and pain, neck pain, abdominal pain and other pain were included.         Sensitivity analyses for several
                                                          problems:     Externalizing: OR. 1.50                                                    examination at           obtained from two      Shyness Temperament          Medications (NSAIDs, antiepileptics, antidepressants, opioids,      indications showed similar effects,
27585674   Vlenterie, 2016   Norway       1999 ‐ 2008     (95% CI 1.26‐1.76)                       Cohort         N = 51,200     NA                gestational week 17–18 prenatal questionnaires. Questionnaire (EAS).         triptans and benzodiazepines) were also included.                   suggesting no confounding by indication.




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                                                                                                                                                                                                             Psychomotor development
                                                                                                                                                                                                             was assessed by items from
                                                                                                                                                                                                             the validated Norwegian
                                                               Prenatal paracetamol for more than 28                                                                                                         version of the Ages and
                                                               days:                            Poorer                                                                                                       Stages Questionnaire
                                                               gross motor development: β: 0.24, 95% CI                                                                                                      (ASQ).
                                                               0.12–0.51                           Poor                                                                                                      a
                                                               communication: β: 0.20, 95% CI 0.01–0.39                                                                                                      Externalizing and          Maternal: before and during pregnancy infections (respiratory,
                                                               Poor externalizing behaviour: β: 0.28,                                                                                                        internalizing behaviours   urinary tract/bladder, genital, diarrhoea/gastric flu), fever, back
                                                               95% CI 0.15–0.42                     Poor                                                                            Information on           were measured by the       pain and headache or migraine. Concomitant use of nonsteroidal
                                                               internalizing behaviour: β: 0.14, 95% CI                                                                             paracetamol use was      Child Behaviour Checklist  anti‐inflammatory drugs, triptans, opioids, other analgesics,
                                                               0.01– 0.28                     Higher                                                                                obtained from two        (CBCL/ 11/2‐5/LDS).        benzodiazepines, antidepressants, antipsychotics, and
                                                               activity levels: β: 0.24, 95% CI 0.11–0.38.                                                                          prenatal questionnaires. s.            Temperament antiepileptic drugs (grouped as co‐medication). Psychological
                                                               Short‐ term use of paracetamol (1–27                                                                                 Groups were divided in was assessed by the          distress (anxiety and depression) was also included. Other
                                                               days):                               Poor   A sibling‐                                                               short‐term (1‐28 days of Emotionality, Activity and potential confounding factors included maternal age at delivery,
                                                               gross motor outcomes: β: 0.10, 95% CI       controlled     N = 2,919 same‐ Multiple                                  use) and long‐term (28 Shyness Temperament          years between pregnancies, parity, smoking during pregnancy
24163279   Brandlistuen, 2013   Norway         1999 ‐ 2008     0.02– 0.19                                  cohort study   sex sibling pairs imputation      NA                      days or more).           Questionnaire (EAS).       and alcohol use during pregnancy.

                                                                                                                                                            A consecutive group of
                                                                                                                                                            pregnant women
                                                                                                                                                            receiving prenatal care
                                                               IQ scores on aspirin and acetaminophen :                                                     in 1974‐1975,
                                                               Linear model: Beta (SE): 0.28 (0.54), p‐                                                     interviewed during the                         Child IQ was assessed with Maternal education, alcohol, nicotine, and caffeine consumption,
                                                               value: 0.61.                      Binary                                                     fifth month of                                 the Weschler Preschool and antibiotic usage, mother's age, nuetritional status during
                                                               model: Beta (SE): 0.37 (0.54), p‐value:                                                      pregnancy in their own Self‐report at 5 months Pri‐ mary Scale of         pregnancy, maternal and paternal education, race, birth order,   Lack of association could be linked with a
3603404    Streissguth, 1987    Seattle, USA   1974‐1975       0.49.                                    Cohort            N = 421          NA               homes.                  gestation.             Intelligence (WPPSD)       child's sex, socioeconomic status.                               limited sample size.




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